     Case 2:20-cv-00182-TOR      ECF No. 32   filed 06/23/20   PageID.665 Page 1 of 3




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 7                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON
 8                                  AT SPOKANE

 9       STATE OF WASHINGTON,                         NO. 2:20-cv-00182-TOR
10                        Plaintiff,                  NOTICE OF FILING
11          v.
12       BETSY DeVOS, in her official
         capacity as Secretary of the United
13       States Department of Education, and
         the UNITED STATES
14       DEPARTMENT OF EDUCATION, a
         federal agency,
15
                          Defendants.
16

17               Plaintiff State of Washington submits notice that on June 17, 2020, the

18       United States District Court for the Northern District of California entered a

19       preliminary injunction in a related case brought by the Chancellor of Community

20       Colleges in California and numerous community college districts in the state. The

21       California Court enjoined enforcement of any restriction by the U.S. Department

22       of Education on student eligibility for CARES Act emergency financial

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                                                                           Complex Litigation
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     Case 2:20-cv-00182-TOR      ECF No. 32   filed 06/23/20   PageID.666 Page 2 of 3




 1       assistance grants with respect to any community college in California. A copy of
 2       the Order Granting Plaintiffs’ Motion for Preliminary Injunction is submitted

 3       herewith.

 4             RESPECTFULLY SUBMITTED this 23rd day of June 2020.
 5                                             ROBERT W. FERGUSON
                                               Attorney General of Washington
 6
 7                                             /s/ Jeffrey T. Sprung
                                               JEFFREY T. SPRUNG, WSBA #23607
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     Case 2:20-cv-00182-TOR      ECF No. 32   filed 06/23/20   PageID.667 Page 3 of 3




 1                               DECLARATION OF SERVICE
 2             I hereby declare that on this day I caused the foregoing document to be

 3       electronically filed with the Clerk of the Court using the Court’s CM/ECF System

 4       which will serve a copy of this document upon all counsel of record.

 5             DATED this 23rd day of June 2020, at Seattle, Washington.

 6
                                                /s/ Jeffrey T. Sprung
 7                                              JEFFREY T. SPRUNG, WSBA #23607
                                                Assistant Attorney General
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